Case: 2:17-cv-OOOOG-CDP Doc. #: 1-17 Filed: 01/31/17 Page: 1 of 2 Page|D #: 72

AO 440 (Rcv. 121'09) Summons in a Civil Actinn

UNITED STATES DISTRICT COURT

for the
Eastem District of Missouri

ROBERT G. MONGLER

 

 

)
P)afr:r§f g
v. ) Civil Action No. 2:1?'-CV-00006
BR|AN KN|GHT, ET AL. )
)
De_,‘"endanf )
SUMMONS IN A ClVIL ACTION
TO: (Defendmir’s name and address) §§::\?`IA||<BB|"PGF|{_|QFPERT|ES’ |NC'
8 TREGONWELL COURT

ALGONQUIN, lL 60102

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) _ or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(Z) or (3) ~ you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,

whose name and address are. DONALD J‘ SCHUTZ| ESQ.
535 CENTRAL AVENUE
ST. PETERSBURG, FL 33701
727-823-3222
don@lawus.com

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint
You also must file your answer or motion with the court.

CLERK OF COUR?"

Date: 01!31!2017

 

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Case: 2:17-cv-OOOOG-CDP Doc. #: 1-17 Filed: 01/31/17 Page: 2 of 2 Page|D #: 73

Ao 440 (Rev. 12109) surmise in a Civil Acson (Page 23
Civil Action No. 2:17-CV-00006

PROOF OF SERVICE
(Thr`s section should not baffled with the court unless required by Fed. R. Cr'v. P. 4 (I))

This Summons for (name of individual and u'rle, §fany)

 

was received by me on (dare)

El I personally served the summons on the individual at golace}

 

01’|. (da!e) ; Or

 

Cl I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

 

 

 

 

 

on (dare) , and mailed a copy to the individual’s last known address; or
|Il I served the summons on (name oftadrvr'daa!) , who is
designated by law to accept service of process on behalf of (aame ofargam'zaa'on)
0!1 (dute) § OI’
Cl I returned the summons unexecuted because ; or
I:I Olhel' (spec§rj)):
My fees are $ for travel and $ for services, for a total of $ 0_00

I declare under penalty of perjury that this information is true.

Date:

 

Ser'ver 's signature

 

Prim‘ed name ami rifle

 

Server 's address

Additional information regarding attempted service, etc:

